

People v Smith (2021 NY Slip Op 03805)





People v Smith


2021 NY Slip Op 03805


Decided on June 11, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 11, 2021

PRESENT: CARNI, J.P., LINDLEY, CURRAN, BANNISTER, AND DEJOSEPH, JJ. (Filed June 11, 2021.)


KA 17-01118.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vANTHONY T. SMITH, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
The case is held, the decision is reserved, the motion to relieve counsel of assignment is granted and new counsel is to be assigned. Memorandum: Defendant was convicted upon a guilty plea of attempted robbery in the second degree (Penal Law §§ 110.00, 160.10 [1]) and was sentenced to a determinate term of imprisonment of three years and five years of postrelease supervision. Defendant's assigned appellate counsel has moved to be relieved of the assignment pursuant to People v Crawford  (71 AD2d 38 [4th Dept 1979]). However, a nonfrivolous issue exists as to whether defendant's waiver of the right to appeal was valid. Therefore, we relieve counsel of his assignment and assign new counsel to brief this issue, as well as any other issues that counsel's review of the record may disclose. (Appeal from Judgment of Monroe County Court, Douglas A. Randall, J. - Attempted Robbery, 2nd Degree).








